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                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

CAPITAL ONE NA Capital One Auto                 §
Finance,                                        §
                                                §
                Plaintiff,                      §
                                                §
v.                                              §       Civil Action No. 3:19-CV-521-L
                                                §
FENTON MOTORS OF DALLAS, INC.,                  §
Fenton Hyundai; FENTON NISSAN OF                §
ROCKWALL, LLC, Fenton Nissan of                 §
Rockwall; and FENTON MOTORS OF                  §
PAMPA, INC., Fenton Ford Lincoln                §
Mercury,                                        §
                                                §
                 Defendants.                    §


                                     MEDIATION ORDER

       After reviewing the Joint Status Report filed in this case, the court determines that this

case is appropriate for mediation. The parties are therefore directed to participate in mediation

by April 24, 2020. All parties shall appear in person, unless excused by the court, before a

mediator of the parties’ mutual choosing and participate in mediation. If a party is an entity

rather than an individual, a person with settlement authority must appear in person on behalf of

the entity. The mediator shall submit a report to the court within three days of the mediation.

       In accordance with § III(G) of this court’s Civil Justice Expense and Delay Reduction

Plan, the clerk of the court shall transmit to counsel a copy of its “Alternative Dispute Resolution

Summary” form. Counsel shall be jointly responsible for ensuring that the mediator receives the

form in a timely fashion. The mediator is ordered to return the form to the clerk of the court (not

to the undersigned’s chambers) in accordance with the clerk’s instructions. The mediator’s




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obligation to return the clerk’s form is separate from the obligation to submit a report to the

court.

         It is so ordered this 10th day of May, 2019.




                                                        _________________________________
                                                        Sam A. Lindsay
                                                        United States District Judge




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